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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF KENTUCKY
                                 LOUISVILLE DIVISION
                               [ELECTRONICALLY FILED]

HENRY CHARTOFF, AS EXECUTOR                     )
OF THE ESTATE OF ETHEL CHARTOFF                 )
                                                )
and                                             )
                                                )
DEBRA CHARTOFF                                  )
                                                )
                                                )
               Plaintiffs                       )
                                                )
v.                                                          3:21-CV-275-BJB
                                                ) CASE NO. __________________
                                                )
NATIONAL INDEMNITY COMPANY                      )
                                                )
and                                             )
                                                )
THE TRAVELERS HOME AND                          )
MARINE INSURANCE COMPANY                        )
                                                )
and                                             )
                                                )
SHIRLEY REISS                                   )
                                                )
               Defendants                       )

                                   NOTICE OF REMOVAL

         Defendant, National Indemnity Company (hereinafter “NICO”), by counsel, for its

Notice of Removal of this action from the Jefferson County Circuit Court to this Court, pursuant

to 28 U.S.C. §§ 1332, 1441, and 1446, respectfully states as follows:

         1.    On July 20, 2020, Plaintiffs Debra Chartoff and Henry Chartoff, as Executor of

the Estate of Ethel Chartoff, filed an action against Shirley Reiss, Travelers Insurance Company

(subsequently dismissed and substituted with The Travelers Home and Marine Insurance




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Company), and National Indemnity Company in the Jefferson Circuit Court, Civil Action No.

20-CI-004189.1 Defendants timely answered Plaintiffs’ Complaint.

         2.        This action relates to a motor vehicle accident that occurred on October 30, 2019

in Jefferson County, Kentucky. Plaintiffs asserted multiple claims in their Complaint, including

an underinsured motorist claim against NICO, which has denied averments relating to liability

and damages and asserted multiple affirmative defenses.

         3.        This Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1332(a) and (c)

because there is diversity of citizenship between Plaintiff and Defendant NICO and the total amount

claimed by Plaintiff exceeds the jurisdictional minimum of $75,000.00.

         4.        Plaintiffs are citizens of Kentucky.

         5.        Upon information and belief, Shirley Reiss is a citizen of Kentucky, and she has

reached a settlement with Plaintiffs.2 Thus, removal is appropriate even though she has not yet been

formally dismissed from this suit.3

         6.        Pursuant to 28 U.S.C. § 1332(c)(1), a corporation shall be deemed a citizen of its

state of incorporation and the state where it has its principal place of business.

         7.        Upon information and belief, The Travelers Home and Marine Insurance Company

is a citizen of Connecticut, where it is incorporated and has its principal place of business, and it has

reached a settlement with Plaintiffs.4 Removal is appropriate even though Travelers has not yet been

formally dismissed from this suit.5

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  Plaintiffs’ Complaint also named Dickerson Family Enterprises, LLC as a defendant. By Voluntary Dismissal
Order, Dickerson Family Enterprises, LLC was dismissed from this lawsuit on August 12, 2020.
2
  See Correspondence of Counsel, April 6, 2021 and April 29, 2021, which is collectively attached as Exhibit 1.
3
  See Hiser v. Seay, 2014 WL 6885433 at *3 (W.D.Ky. 2014) (“Plaintiffs concede that they had reached settlement
agreements with the Seays and KFB but note that those parties had not been formally dismissed when Defendants
filed their notice. [ . . . ] Formal dismissal of the parties required to create diversity jurisdiction is not required as
long as the parties have notice that the case will become removable.”).
4
  See Exhibit 1, Correspondence of Counsel, April 6, 2021.
5
  See Hiser, 2014 WL 6885433 at *3.

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         8.      Defendant NICO is a citizen of Nebraska, where it is incorporated and has its

principal place of business.

         9.       Pursuant to 28 U.S.C. § 1446(b), removal must be filed within thirty days after

receipt of the initial pleading setting forth the claim for relief. If, however, the case is not initially

removable, a notice of removal may be filed within thirty days after defendant receives a copy of

a pleading, motion, order or other paper from which “it may first be ascertained that the case is

one which is or has become removable” but no more than one year after commencement of the

action.6

         10.     This matter was not initially removable due to the presence of non-diverse

Defendant Shirley Reiss. Due to Plaintiffs’ settlement with Ms. Reiss and forthcoming dismissal,

this matter will be removable, and can be removed presently.7

         11.     Plaintiffs’ Complaint does not itemize damages or identify the amount in

controversy. However, the amount in controversy exceeds $75,000.00, exclusive of interest and

costs, by virtue of Plaintiffs’ correspondence of April 9, 2021, which demanded a policy limits

settlement (NICO’s policy limits exceed $75,000.00, exclusive of interest and costs).

         12.     This case is being removed within or before accrual of the thirty-day deadline

under 28 U.S.C. § 1446(b), and within one year of the filing of Plaintiffs’ lawsuit, thus, making

removal timely.

         13.     Copies of all process, pleadings, and orders served on this Defendant as of the

date of the filing of this Notice of Removal are attached hereto as Exhibit 2.

         14.     A true and correct copy of Defendant’s Notice of Removal was filed with the

Clerk of Court of the Jefferson County Circuit Court today.

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  28 U.S.C. 1446(b)-(c).
͹See Hiser, 2014 WL 6885433 at *3.


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         WHEREFORE, Defendant, National Indemnity Company, respectfully removes this case

from the Jefferson County Circuit Court to this Court for all further proceedings.

                                                     Respectfully submitted,

                                                     /s/ Thomas E. Stevens__________________
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                                                     tstevens@bdblawky.com
                                                     azwicky@bdblawky.com
                                                     Counsel for Defendant
                                                     National Indemnity Company

                                CERTIFICATE OF SERVICE
      I hereby certify that the foregoing was filed electronically on this 3rd day of May, 2021.
A Copy of this Notice of Removal was also sent via electronic mail to the following:
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                                             /s/ Thomas E. Stevens______________
                                             Counsel for Defendant National Indemnity Company

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